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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )      Case No. 4:05CR3065
                            Plaintiff,            )
                                                  )
v.                                                )
                                                  )              ORDER
LORENZO ROBLEDO,                                  )
                                                  )
                            Defendant.            )

       THIS MATTER comes before the Court on defendant's unopposed motion to

continue the deadline for filing pretrial motions from June 23, 2005, until June 30, 2005,

filing 20. The Court, being fully advised in the premises finds that said motion should be

granted.

       IT IS THEREFORE ORDERED that the defendant shall file any pretrial motions in

the above captioned matter no later than June 30, 2005. This Court further finds, based

upon the showing set forth in defendant’s motion, that the ends of justice will be served by

extending the deadline for filing pretrial motions. Further, that taking such action outweighs

the best interests of the public and the defendant in a speedy trial. Accordingly, the time

from June 23, 2005, until June 30, 2005, shall be excluded from any speedy trial

calculation pursuant to 18 U.S.C. §3161(h)(8)(A).

       Dated this 23rd day of June, 2005.

                                                  BY THE COURT:


                                                  s/  David L Piester
                                                  United States Magistrate Judge
